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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                Plaintiff,

 v.                                             Criminal Action No. 5:11CR56-02
                                                                        (STAMP)
 GILBERTO MELENDEZ,

                Defendant.


                 ORDER DENYING DEFENDANT’S MOTION TO PROCEED
                        IN FORMA PAUPERIS AS MOOT AND
                DIRECTING CLERK TO SEND DEFENDANT CJA FORM 24

        On August 12, 2013, the pro se1 defendant filed a letter,

 construed          as   a    motion,    requesting     copy   of   his    sentencing

 transcript.         ECF No. 121.       In that motion, the defendant indicates

 that he cannot afford to purchase a copy of that transcript.

 Within his motion, however, the plaintiff does not indicate his

 particular need for the transcript. In addition, the record before

 this Court does not show that the defendant has any pending

 actions.       The plaintiff then filed a motion to proceed in forma

 pauperis.          ECF No. 123.

        Regarding his motion for a copy of his sentencing transcript,

 this       Court    may     not   directly   provide    the   defendant    with   the

 sentencing transcript but may provide it to the Warden of FCI

 Fairton, where the defendant is housed.                   The Bureau of Prisons

 does not allow an inmate to possess certain documents which may be


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       Pro se - “One who represents oneself in a court proceeding
 without the assistance of a lawyer.” Black’s Law Dictionary 1416
 (10th ed. 2014). The defendant was represented by counsel in the
 underlying criminal action but is now proceeding pro se.
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 used for illicit purposes, such as to threaten the security of a

 Bureau institution or the safety of an inmate or other person.

 Thus, the Bureau of Prisons, although not explicitly stated in its

 policy, has extended such a rationale to inmate requests for

 sentencing transcripts.       However, the Bureau of Prisons allows an

 inmate to submit a request to a staff member designated by the

 Warden for access to his or her court documents for in-person

 review at the inmate’s institution of incarceration.            During such

 reviews, inmates may take handwritten notes but are prohibited from

 obtaining or possessing photocopies of the documents. In addition,

 “[i]t    is   well-settled   that   copies   of   transcripts    and   court

 documents may be provided to an indigent litigant at government

 expense upon a showing by the litigant of a particularized need for

 the documents.”     United States v. Brumaire, No. 4:03-cr-00474-CWH-

 8, 2013 WL 2109532 (D.S.C. June 18, 2013) (citing Morin v. United

 States, 522 F.2d 8, 9 (4th Cir. 1975) (per curiam)).          In this case,

 where the defendant claims he is indigent, the defendant must

 submit a      CJA Form 24 – “Authorization and Voucher for Payment

 Transcript” if he seeks to receive the sentencing transcript at the

 expense of the government.       Accordingly, the Clerk is DIRECTED to

 send to the defendant a CJA Form 24.

         Further, concerning his motion to proceed in forma pauperis,

 the record does not show any pending action for which the defendant

 is proceeding.      Because of that, this Court finds no reason to




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 grant such a designation and thus, the defendant’s motion to

 proceed in forma pauperis is DENIED.

       IT IS SO ORDERED.

       The Clerk is DIRECTED to transmit a copy of this order to the

 pro se defendant by certified mail and to counsel of record herein.

       DATED:      March 26, 2015



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




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